Case 3:20-cv-00809-MHL Document 1 Filed 10/19/20 Page 1 of 20 PageID# 1




                   UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF VIRGINIA
                         Richmond Division

JANAE EDDINGS                            )
and FRANCHON WILKINS,                    )
                                         )     Civil Action No: 3:20-cv-809
             Plaintiffs,                 )
v.                                       )
                                         )
T-MOBILE, USA, INC.                      )
                                         )
             Defendant.                  )

                                 COMPLAINT

      Plaintiffs Janae Eddings and Franchon Wilkins (“Eddings” and

“Wilkins” or, collectively, “Plaintiffs”), for their Complaint against T-Mobile

USA, Inc. (“T-Mobile” or “Defendant”) state as follows:

                            NATURE OF ACTION

      1.     Plaintiffs bring this action under the Americans with Disabilities

Act of 1990, as amended, 42 U.S.C. § 12101, et seq. (hereinafter the “ADA”).

Plaintiffs each requested leave for medical reasons, Eddings for health issues

related to her disability, and Wilkins for health issues related to her disability

and her pregnancy and miscarriage. Separately, Eddings also asserts claims

under the Family and Medical Leave Act of 1993, 29 U.S.C. § 2611, et seq.

(“FMLA”), in that Defendant terminated her employment in violation of the

FMLA. Separately, Wilkins also asserts claims for pregnancy discrimination

pursuant to Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. §

2000e, et seq. (“Title VII”). T-Mobile’s employee Nikisha Tolliver (“Tolliver”),



                                        1
Case 3:20-cv-00809-MHL Document 1 Filed 10/19/20 Page 2 of 20 PageID# 2




whose job title is “Employee Success Advisor,” terminated Eddings on March

12, 2019, and terminated Wilkins on April 10, 2019.

       2.     Both Plaintiffs seek declaratory judgment, injunctive relief, back

pay, benefits, compensatory and punitive damages, reasonable attorney’s fees

and costs for ADA violations. Separately, Eddings also seeks declaratory

judgment, injunctive relief, back pay, benefits, liquidated damages, reasonable

attorney’s fees and costs for FMLA violations. Separately, Wilkins also seeks

declaratory judgment, injunctive relief, back pay, benefits, compensatory and

punitive damages, reasonable attorney’s fees and costs for Title VII violations.

                       JURISDICTION AND VENUE

       3.     This Court has original jurisdiction to hear this Complaint and to

adjudicate the claims stated herein under 42 U.S.C. § 12117(a), 28 U.S.C. §§

1331, 1343, and 42 U.S.C. § 2000e-5 because Plaintiffs bring claims under the

ADA, the FMLA, and Title VII. The demand for declaratory relief is authorized

by 28 U.S.C. §§ 2201 and 2202.

       4.     This Court is an appropriate venue for this cause of action

pursuant to 28 U.S.C. 1391(b)(1) and (b)(2) and 29 U.S.C. § 1132(e)(2). The

actions complained of took place in this judicial district; evidence and

employment records relevant to the allegations are maintained in this judicial

district; and the Defendant is present and regularly conduct affairs in this

judicial district.




                                       2
Case 3:20-cv-00809-MHL Document 1 Filed 10/19/20 Page 3 of 20 PageID# 3




      5.     Plaintiffs   have   exhausted    all   necessary   administrative

prerequisites. Each Plaintiff filed a charge of discrimination with the Equal

Employment Opportunity Commission (“EEOC”)           within 300 days of her

termination, and each Plaintiff received a right-to-sue letter from the EEOC

on or about July 21, 2020. Plaintiffs have filed their ADA and Title VII claims

within ninety (90) days of their receipt of a right-to-sue letter from the EEOC.

                                  PARTIES

      6.     Eddings is a female resident of Richmond, Virginia. At the time

of her termination in March of 2019, Eddings was 32 years old. She has an

enlarged heart and suffers from high blood pressure, anxiety, and depression.

At all times relevant to the matters alleged herein, Eddings was an eligible

employee within the meaning of the ADA pursuant to 42 U.S.C. § 12111(4). At

all times relevant to this Complaint, Eddings was a “qualified individual” with

a disability within the meaning of the ADA. At the time of her unlawful

termination from T-Mobile, Eddings had been employed by T-Mobile for at

least 12 months and had been employed for at least 1,250 hours of service

during the twelve-month period immediately preceding the commencement of

her leave. At all times pertinent hereto, T-Mobile employed more than 50

employees at Plaintiffs’ worksite, and the total number of employees employed

by T-Mobile within 75 miles of that worksite was more than 50.

      7.     Wilkins is a female resident of Midlothian, Virginia. At the time

of her termination in April of 2019, Wilkins was 30 years old. Wilkins



                                       3
Case 3:20-cv-00809-MHL Document 1 Filed 10/19/20 Page 4 of 20 PageID# 4




miscarried in December of 2018 which caused her to suffer from anxiety and

depression. At all times relevant to the matters alleged herein, Wilkins was an

eligible employee within the meaning of the ADA pursuant to 42 U.S.C. §

12111(4). At all times relevant to the matters alleged herein, Wilkins was an

employee within the meaning of Title VII pursuant to 42 U.S.C. § 2000e(f). At

all times relevant to this Complaint, Wilkins was a “qualified individual” with

a disability within the meaning of the ADA.

      8.     T-Mobile is a Delaware corporation that provides wireless

telephone and data communication services to millions of customers. As of the

end of the second quarter of 2020, T-Mobile had 98.3 million customers and

was the second-largest wireless carrier in the United States. T-Mobile has over

52,000 employees in the U.S. and does business in Richmond, Virginia. T-

Mobile is an “employer” as defined in 42 U.S.C. § 12111(5)(A) and is subject to

the provisions of the ADA. At all times pertinent hereto, T-Mobile was an

“employer” within the meaning of 42 U.S.C. § 2000(b) and was subject to the

provisions of Title VII.   At all times pertinent hereto, T-Mobile was an

“employer” within the meaning of 29 U.S.C. § 2611(4)(A) and was subject to

the provisions of the FMLA. At all times pertinent hereto, T-Mobile was an

employer engaged in an industry affecting commerce with more than 50

employees for each working day in each of twenty or more calendar weeks in

each relevant calendar year.




                                      4
Case 3:20-cv-00809-MHL Document 1 Filed 10/19/20 Page 5 of 20 PageID# 5




                                   FACTS

Nikisha Tolliver’s Role as “Employee Success Advisor”

      9.     T-Mobile employs Nikisha Tolliver (“Tolliver”) in the position of

“Employee Success Advisor.”

      10.    Tolliver gets involved when T-Mobile becomes aware of an

employee’s health issues that necessitate a leave of absence.

      11.    In the summer of 2018, Lawrence K. M., an employee at T-

Mobile’s Richmond call center, needed eye surgery because of complications

related to his diabetes. Mr. M. requested and received short-term disability for

one month. He later requested an accommodation that he not work the

nightshift, since his impaired vision made it impossible for him to drive at

night. Even though his supervisor was willing to accommodate him, Tolliver

refused, telling him that T-Mobile had no obligation to assist him with his

“transportation problems”.

      12.    Frustrated, Mr. M. resigned in February of 2019.

      13.    Another employee at T-Mobile’s Richmond call center, Sade W.,

was involved in an automobile accident and, subsequently, suffered a stroke at

age 32.

      14.    Following her accident, stroke, and medical leave, T-Mobile

assigned Tolliver to be Ms. W’s “Employee Success Advisor.” In that role,

Tolliver repeatedly harangued Ms. W. for medical records.




                                       5
Case 3:20-cv-00809-MHL Document 1 Filed 10/19/20 Page 6 of 20 PageID# 6




       15.   After months of repeated requests for medical records by

Broadspire, T-Mobile’s short-term disability administrator, and Tolliver, T-

Mobile terminated Ms. W. on or about December 19, 2019.

Janae Eddings

       16.   Eddings began her employment with T-Mobile on March 6, 2018

as a Customer Service Representative at T-Mobile’s call center in the County

of Henrico, Virginia.

       17.   Eddings enjoyed her job and was a top performer.

       18.   Throughout her employment, Eddings never received any write-

ups.

       19.   On July 11, 2018, Eddings submitted paperwork for intermittent

medical leave due to her heart condition. The intermittent leave was granted

on an as-needed basis.

       20.   On January 16, 2019, Eddings again requested medical leave due

to depression and anxiety and, secondarily, due to chest pain.

       21.   Eddings’ medical leave was approved from January 16, 2019

through February 7, 2019.

       22.   Eddings returned to her physician on February 6, 2019, and her

doctor resubmitted a request for medical leave until March 10, 2019 to T-

Mobile.

       23.   T-Mobile approved medical leave to Eddings until March 10, 2019

under its short-term disability plan.



                                        6
Case 3:20-cv-00809-MHL Document 1 Filed 10/19/20 Page 7 of 20 PageID# 7




      24.    T-Mobile assigned Tolliver to be Eddings’ “Employee Success

Advisor.”

      25.    On February 25, 2019 Eddings received an email from Tolliver,

stating that Eddings needed to contact her immediately or T-Mobile would

view Eddings’ silence as a voluntary resignation.

      26.    Eddings called Tolliver and let her know that she had scheduled

a follow-up appointment with her doctor for March 8, 2019, two days before

Eddings’ current medical leave was set to expire.

      27.    Tolliver instructed Eddings to submit an update on her medical

condition every two weeks.

      28.    Tolliver assured Eddings that T-Mobile would cooperate with her

because Eddings had kept in communication with T-Mobile.

      29.    Eddings saw her physician again on March 7, 2019.

      30.    Eddings’ physician concluded that her medical leave should be

extended through the end of July 2019.

      31.    Eddings immediately sent an email to Tolliver and informed her

that her physician would send medical forms to Broadspire.

      32.    Eddings’ physician sent an update by fax to Broadspire, as

required, on March 8, 2019 and again on March 12, 2019 because Broadspire

stated that it had not received the March 8th facsimile.

      33.    On March 12, 2019, T-Mobile fired Eddington.




                                       7
Case 3:20-cv-00809-MHL Document 1 Filed 10/19/20 Page 8 of 20 PageID# 8




      34.    Eddings immediately called Tolliver who told her that Broadspire

and T-Mobile had not received any medical information from Eddings’

physician. Tolliver repeated that because Eddings had not returned to work,

T-Mobile was terminating her employment.

      35.    Subsequently, T-Mobile lied to the EEOC about its reasons for

Eddings’ termination: In its position papers, T-Mobile stated, “When Ms.

Eddings[] … was expected to return to work on January 3, 2019, she did not

return to work and requested a continuous leave of absence until February 20,

2019.” This statement contains numerous lies. Eddings requested and received

intermittent leave for January 3 and 4, 2019. Eddings did work 35 hours in the

pay period ending January 12, 2019.

      36.    Eddings worked an additional 24.5 hours in the pay period ending

January 26, 2019.

      37.    Eddings’ last day at work was January 18, 2019.

      38.    T-Mobile’s explanation was pretext, designed to hide the true,

unlawful reason for Wilkins’ termination. Defendant terminated Eddings

because of her medical issues, and her request for medical leave, in violation

of the ADA and the FMLA.

      39.    As a result of Defendant’s unlawful action, Eddings lost her job

and income, and she lost her health benefits.




                                      8
Case 3:20-cv-00809-MHL Document 1 Filed 10/19/20 Page 9 of 20 PageID# 9




      40.    Defendant’s decision to terminate Eddings was made in willful,

blatant and intentional disregard of and in violation of Eddings’ rights under

the ADA and the FMLA.

Franchon Wilkins

      41.    Wilkins began her employment with T-Mobile on August 7, 2018

as a Customer Service Representative at T-Mobile’s call center in the County

of Henrico, Virginia.

      42.    Wilkins enjoyed her job and was a strong performer.

      43.    Throughout 2018 and until February 5, 2019, Wilkins was

consistently in good standing at T-Mobile. T-Mobile employee who are “Not In

Good Standing” are ineligible for promotions, education assistance, and

national recognition programs, as well as possibly internal transfers, annual

bonus allocation, and compensation increases.

      44.    Wilkins’ work schedule was Monday, Tuesday, Thursday and

Friday from 9 a.m. to 8 p.m.

      45.    Not long after Wilkins was hired by T-Mobile, she discovered that

she was pregnant and immediately told her manager.

      46.    Wilkins was excited about the pregnancy.

      47.    Not long after Wilkins discovered that she was pregnant she

began having severe abdominal pain, which caused her to miss work.

      48.    At the end of November Wilkins was working 11-hour days and

her abdominal pain was getting worse.



                                      9
Case 3:20-cv-00809-MHL Document 1 Filed 10/19/20 Page 10 of 20 PageID# 10




       49.    On December 9, 2018 Wilkins miscarried and lost her baby.

       50.    She requested medical leave for one month until January 9, 2019.

       51.    T-Mobile approved her initial Leave of Absence.

       52.    When Wilkins returned to work, she was suffering from

 depression, as well as a painful cyst she had developed.

       53.    Wilkins was diagnosed with depression related to the miscarriage

 and was seeing her therapist twice a week.

       54.    Wilkins’ physician filled out T-Mobile’s medical forms, requesting

 intermittent leave from December 21, 2018 through March 8, 2019.

       55.    Wilkins disclosed to T-Mobile’s Human Resources department

 her diagnosis of spontaneous miscarriage, postpartum depression, and

 Bartholin’s/labial abscess. Her physician informed T-Mobile that Wilkins could

 return to work without any restrictions on March 9, 2019.

       56.    Wilkins’ physician also informed T-Mobile that Wilkins’ medical

 condition substantially limited genitourinary and sensory body functions and

 that Wilkins was unable to engage in prolonged sitting.

       57.    After Wilkins requested intermittent medical leave due to her

 terminated pregnancy and her depression, T-Mobile assigned Tolliver to be

 Wilkins’ “Employee Success Advisor.”

       58.    Tolliver immediately questioned Wilkins about her request for

 intermittent medical leave.




                                        10
Case 3:20-cv-00809-MHL Document 1 Filed 10/19/20 Page 11 of 20 PageID# 11




       59.     Tolliver requested that Wilkins’ physician resend her notes to

 Broadspire.

       60.     On March 8, 2019, Broadspire told Wilkins that her request for

 intermittent medical leave was denied.

       61.     On March 18, 2019, Tolliver told Wilkins that her request for

 intermittent medical leave had been denied.

       62.     On March 20, 2019, Broadspire told Wilkins once again that her

 request for intermittent medical leave was denied. Broadspire suggested that

 Wilkins’ doctor fill out new forms to request intermittent medical leave.

       63.     On March 25, 2019, Broadspire told Wilkins yet again that her

 request for intermittent medical leave was denied.

       64.     Wilkins was in good standing before her January 11, 2019 request

 for intermittent leave. From January 11, 2019, to January 28, 2019, Wilkins

 submitted and resubmitted additional requests for leave and more supporting

 documentation. On February 5, 2019, T-Mobile issued a “Not in Good

 Standing” discipline to Wilkins.

       65.     As an employee “Not In Good Standing,” Wilkins was ineligible

 for promotions, education assistance, and national recognition programs, as

 well as internal transfers, annual bonus allocation, and compensation

 increases.

       66.     One month later, on March 5, 2019, T-Mobile issued a coaching to

 Wilkins.



                                       11
Case 3:20-cv-00809-MHL Document 1 Filed 10/19/20 Page 12 of 20 PageID# 12




       67.    Two days later, on March 7, 2019, T-Mobile issued yet another

 coaching to Wilkins.

       68.    One week later, on March 14, 2019, T-Mobile issued an additional

 coaching to Wilkins.

       69.    A few weeks later, on April 2, 2019, T-Mobile issued one more

 coaching to Wilkins.

       70.    On April 10, 2019, Defendant terminated Wilkins’ employment.

       71.    Defendant claimed that Wilkins was terminated for ongoing

 attendance and performance issues, since Defendant had not approved

 Wilkins’ request for intermittent medical leave.

       72.    T-Mobile’s explanation was pretext, designed to hide the true,

 unlawful reason for Wilkins’ termination. Defendant terminated Wilkins

 because of her pregnancy and other medical issues, and her request for

 intermittent medical leave, in violation of Title VII and the ADA.

       73.    As a result of Defendant’s unlawful action, Wilkins lost her job

 and income, and she lost her health benefits.

       74.    Defendant’s decision to terminate Wilkins was made in willful,

 blatant and intentional disregard of and in violation of Wilkins’ rights under

 Title VII and the ADA.




                                       12
Case 3:20-cv-00809-MHL Document 1 Filed 10/19/20 Page 13 of 20 PageID# 13




                                  COUNT I
                        ADA – 42 U.S.C. 12101 et seq.
                             Disparate Treatment
                  (Plaintiff Eddings and Plaintiff Wilkins)

       75.    Plaintiffs incorporate and re-allege the allegations contained

 within the preceding paragraphs of this Complaint as though fully set forth

 herein.

       76.    All of the acts of Defendant’s employees alleged herein were

 undertaken in the course and within the scope of their employment and on

 behalf of the Defendant.

       77.    Plaintiffs suffered from depression and anxiety, and other

 medical conditions, as described above.

       78.    During    her   employment      with    Defendant,   Eddings’   job

 performance met or exceeded Defendant’s legitimate expectations.

       79.    During    her   employment      with    Defendant,   Wilkins’   job

 performance met or exceeded Defendant’s legitimate expectations.

       80.    Each plaintiff was a qualified individual with a disability as those

 terms are defined by the Americans with Disabilities Act.

       81.    Each plaintiff was suffering from a serious medical condition that

 had a significant impact on major life activities.

       82.    Each plaintiff possessed the requisite skills to do her job, as she

 had done throughout her employment with Defendant.




                                        13
Case 3:20-cv-00809-MHL Document 1 Filed 10/19/20 Page 14 of 20 PageID# 14




        83.      Each plaintiff continued to be capable of doing the essential

 functions of her job, as she had done throughout her employment with

 Defendant.

        84.      Both plaintiffs told Defendant about their depression and anxiety

 and provided detailed descriptions of their disability through their physicians,

 and Defendant knew that Eddings and Wilkins were each an individual with

 a disability.

        85.      Each plaintiff made requests for reasonable accommodations

 between January and March of 2019.

        86.      Defendant terminated Eddings on March 12, 2019.

        87.      Defendant terminated Wilkins on April 10, 2019.

        88.      Defendant discriminated against Eddings because of her actual

 and/or perceived disabilities, heart disease, depression and anxiety, all medical

 conditions that limit major life activities, such as coronary and brain function

 and her mental and emotional health.

        89.      Defendant discriminated against Wilkins because of her actual

 and/or perceived disabilities, depression and anxiety, all medical conditions

 that limit major life activities, such as brain function and her mental and

 emotional health.

        90.      Defendant further retaliated against Eddings and Wilkins

 because of each plaintiff’s request for reasonable accommodation and

 terminated them.



                                         14
Case 3:20-cv-00809-MHL Document 1 Filed 10/19/20 Page 15 of 20 PageID# 15




        91.    Defendant’s actions were done in willful violation of Plaintiffs’

 rights under the Americans with Disabilities Act.

        92.    Defendant acted with malice and/or with reckless disregard for

 Plaintiffs’ rights under the Americans with Disabilities Act when Defendant

 harassed and discriminated against each Plaintiff and when they terminated

 Eddings and Wilkins and thus further discriminated against them because of

 each Plaintiff’s disability.

        93.    Each Plaintiff is entitled to punitive damages.

        94.    Defendant terminated Plaintiffs’ employment because of their

 disability and thereby violated Plaintiffs’ right to equal employment

 opportunity as protected by the ADA.

        95.    Each Plaintiff has been damaged by Defendant’s actions,

 including, but not limited to loss of employment, loss of compensation and

 employment related benefits.

        96.    As a direct and proximate result of Defendant’s actions, Plaintiffs

 have suffered, continue to suffer, and will in the future suffer injury and

 damages, including embarrassment, inconvenience, humiliation, severe

 mental anguish, pain, suffering, loss of income, litigation expense including

 attorneys’ fees, medical expense, consequential damages and other injury.




                                        15
Case 3:20-cv-00809-MHL Document 1 Filed 10/19/20 Page 16 of 20 PageID# 16




                              COUNT II
                  INTERFERENCE UNDER THE FMLA:
                       (Plaintiff Eddings Only)

       97.    Each of the preceding paragraphs is incorporated herein by

 reference.

       98.    On March 6, 2019, Eddings had been employed with T-Mobile for

 twelve months, during which she had worked more than 1,250 hours.

       99.    T-Mobile has more than 50 employees within a 75 mile radius of

 the City of Richmond.

       100.   Eddings provided Defendant with sufficient notice that she would

 be out of work on FMLA-covered medical leave, and that she would return to

 work on or before July 31, 2019.

       101.   As a matter of law, Eddings was entitled to reinstatement to her

 position or an equivalent position with the Defendant upon her return from

 her leave.

       102.   Eddings was not reinstated to her position or an equivalent

 position with the Defendant. Instead, she was terminated six days after she

 became eligible to take FMLA leave.

       103.   The acts and practices of Defendant complained of herein,

 including the termination of Eddings’ employment during her FLMA-covered

 leave, were done as interference with Plaintiff’s rights under the FMLA, in

 violation of 29 U.S.C. §§ 2614 and 2615(a)(1).




                                       16
Case 3:20-cv-00809-MHL Document 1 Filed 10/19/20 Page 17 of 20 PageID# 17




       104.   The acts and practices of Defendant complained of herein were

 willful. Eddings is therefore entitled to liquidated damages under the FMLA.

       105.   Plaintiff has been damaged by Defendant’s actions, including, but

 not limited to loss of employment, loss of compensation and employment

 related benefits, loss of health insurance for Plaintiff and her baby, and

 litigation expense including attorney’s fees.

                             COUNT III
         TITLE VII – GENDER/PREGNANCY DISCRIMINATION
                       (Plaintiff Wilkins Only)

       106.   Each of the preceding paragraphs is incorporated herein by

 reference.

       107.   Wilkins, because of her gender and pregnancy, was denied terms

 and conditions of employment in violation of Title VII of the Civil Rights Act of

 1964, as amended.

       108.   Prior to taking discriminatory employment action against

 Wilkins, Defendant became aware of Wilkins’ pregnancy.

       109.   Wilkins suffered a miscarriage on December 9, 2019.

       110.   Defendant became aware of Wilkins’ miscarriage.

       111.   Defendant discriminated against Wilkins because of her

 pregnancy/miscarriage, refused to grant medically necessary leave of absence,

 obstructed Wilkins’ efforts of getting intermittent leave, and terminated her,

 all in violation of Title VII of the Civil Rights Act of 1964, as amended.




                                        17
Case 3:20-cv-00809-MHL Document 1 Filed 10/19/20 Page 18 of 20 PageID# 18




       112.    Defendant’s discrimination against Wilkins was an intentional or

 reckless disregard of her rights under Title VII of the Civil Rights Act of 1964,

 as amended.

       113.    Defendant engaged in its discriminatory actions described above

 with malice, or with a reckless indifference to Wilkins’ legal rights. Wilkins is

 therefore entitled to punitive damages for Defendant’s actions alleged herein.

       114.    Wilkins has been damaged as a result of Defendant’s unlawful

 conduct. As a direct and proximate result of Defendant’s conduct, Wilkins has

 suffered great humiliation, distress, embarrassment, inconvenience, mental

 anguish, pain, suffering, injury and damages, including damage to her

 reputation and good will, loss of income, loss of employment, loss of employee

 benefits, litigation expense including attorney’s fees, and consequential

 damages including the loss of employment opportunities, business and

 development opportunities, and other injury.

                            PRAYER FOR RELIEF

       Wherefore, Plaintiffs Janae Eddings and Franchon Wilkins, request

 judgment against Defendant as follows:

       A.      For appropriate declaratory relief regarding the unlawful acts

 and practices of Defendant, pursuant to the Americans with Disabilities Act,

 the Family and Medical Leave Act of 1993, and Title VII of the Civil Rights Act

 of 1964;




                                        18
Case 3:20-cv-00809-MHL Document 1 Filed 10/19/20 Page 19 of 20 PageID# 19




        B.     For an award of compensatory damages to each Plaintiff against

 Defendant T-Mobile;

        C.     For an award of punitive damages to each Plaintiff against

 Defendant T-Mobile;

        D.     For pre-judgment and post judgment interest;

        E.     For an award of back pay for violations of the Americans with

 Disabilities Act, the Family and Medical Leave Act of 1993, and Title VII of the

 Civil Rights Act of 1964 against Defendant T-Mobile;

        F.     For an award of liquidated damages to Janae Eddings in an

 amount to be determined at trial for willful violation of the Family Medical

 Leave Act;

        G.     For an award of an amount sufficient to offset any adverse tax

 consequences resulting from a lump sum award or an award of other relief in

 this action because Plaintiffs Janae Eddings and Franchon Wilkins were

 required to file suit to enforce their federally protected rights;

        H.     For an award of incidental and consequential damages, actual

 attorney’s fees and costs of this action, including expert witness fees; and

        I.     For such other and further relief to which each Plaintiff may show

 herself justly entitled.

 TRIAL BY JURY IS REQUESTED

                                          JANAE EDDINGS
                                          and
                                          FRANCHON WILKINS



                                         19
Case 3:20-cv-00809-MHL Document 1 Filed 10/19/20 Page 20 of 20 PageID# 20




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